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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY




 ADRIANE GENOVA,                                    Civil Action No. 16-5621(MCA)

                        Plaintiff,
 v.

 IC SYSTEMS, INC., et al.                           ORDER OF DISMISSAL

                     Defendant.


       This matter having been reported settled and the Court having administratively

terminated the action for sixty (60) days so that the parties could submit the papers necessary to

terminate the case, see Fed. R. Civ. P. 41(a)(1)(A)(ii), L. Civ. R. 41.1, and the sixty-day time

period having passed without the Court having received the necessary papers;

       IT IS on this 22nd day of August, 2018

       ORDERED that the Clerk of the Court shall reopen the case and make a new and

separate docket entry reading “CIVIL CASE REOPENED”; and it is further

       ORDERED that this matter be, and the same hereby is, DISMISSED WITH

PREJUDICE, and without costs pursuant to Fed. R. Civ. P. 41(a)(2).



                                                       s/Madeline Cox Arleo
                                                      Hon. Madeline Cox Arleo
                                                      United States District Judge
